                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE
                                                                               U.S. D/"'TRICT COURT
UNITED STATES OF AMERICA                                                      WEST'N. DIST. KENTUCKY

                                                                     INFORMATION
V.
                                                               NO.   j.'/?    CP- I It '1-R.
KYLE WILLETT                                                         18 U.S.C. § 659
                                                                     18 U.S.C. § 981
                                                                     28 U.S .C. § 2461



The United States Attorney alleges:


                                            COUNT1
                                 (Theft from Interstate Shipment)

       In or about and between January 2016 through August 2016, in the Western District of

Kentucky, defendant Kyle Willett, unlawfully, willfully and knowingly, and with intent to convert

to his own use, did steal by fraud and deception from the United Parcel Services Louisville Hub

terminal cash in excess of $1,000, that is approximately $74,745.99, which was moving as, was

part of, and constituted an interstate shipment of property.

       In violation of Title 18, United States Code, Section 659.



                                   NOTICE OF FORFEITURE

       If convicted of any violation of Title 18, United States Code, Section 659, as alleged in

Count 1 of this Information, defendant KYLE WILLETT, shall forfeit any property, real or

personal, which constitutes or is derived from proceeds traceable (directly or indirectly) to such




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 violation, including but not limited to: a) $72,000 in United States Currency; b) $520.00 in

 United States Currency; and c) $2,225.99 in United States Currency.

        Pursuant to Title 18, United States Code, Section 981 (a)(1 )(C), and Title 28, United

 States Code, Section 2461.




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6     E. KUHN, JR.
 UNITED STATES ATTORNEY

 JEK:BRC: 20 NOV 16




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UNITED STATES OF AMERICA v. KYLE WILLETT

                                                           PENALTIES

Count 1:             NM 10 yrs./$250,000/both/NM 3 yrs. Supervised Release

Forfeiture Notice


                                                              'IOTICE

ANY PERSON CONVICTED OF AN OFFENSE AGAINST THE UN ITED STATES SHALL BE SUBJECT TO SPECIAL
ASSESSMENTS, FINES, RESTITUTION & COSTS.


SPECIAL ASSESSMENTS

18 U.S.C. § 3013 requires that a special assessment shall be imposed for each count of a conviction of offenses committed after
November 11 , 1984, as follows:

           Misdemeanor:           $ 25 per count/individual               Felony:         $100 per count/individual
                                  $125 per count/other                                    $400 per count/other



In addition to any of the above assessments, you may also be sentenced to pay a fine . Such fine is due immediately unless the court
issues an order requiring payment by a date certain or sets out an installment schedule. You shall provide the United States Attorney's
Office with a current mailing address for the entire period that any part of the fine remains unpaid, or you may be held in contempt of
court. 18 U.S.C. § 3571 ,3572, 3611 , 3612

Failure to pay fine as ordered may subject you to the following:

           I.   INTEREST and PENAL TIES as applicable by law according to last date of offense.

                     For offenses occurring after December 12. 1987:

                       o INTEREST will accrue on fines under $2,500.00.

                     INTEREST will accrue according to the Federal Civil Post-Judgment Interest Rate in effect at
                     the time of sentencing. This rate changes monthly. Interest accrues from the first business day
                     following the two week period after the date a fine is imposed.

                     PENAL TIES of:

                     10% of fine balance if payment more than 30 days late.

                     15% of fine balance if payment more than 90 days late.

           2.        Recordation of a LIEN shall have the same force and effect as a tax lien.

           3.        Continuous GARNISHMENT may apply until your fine is paid.

           18 U.S .C. §§ 3612, 3613

                     If you WILLFULLY refuse to pay your fine, you shall be subject to an ADDITIONAL FINE
                     of not more than the greater of $10,000 or twice the unpaid balance of the fine; or
                     IMPRISONMENT for not more than I year or both. 18 U.S.C. § 3615




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RESTITUTION

If you are convicted of an offense under Title 18, U.S. C., or under certain air piracy offenses, you may also be ordered to make
restitution to any victim of the offense, in addition to, or in lieu of any other penalty authorized by law. 18 U.S.C. § 3663

APPEAL

If you appeal your conviction and the sentence to pay your fine is stayed pending appeal, the court shall require:

           I.         That you deposit the entire fine amount (or the amount due under an installment schedule
                      during the time of your appeal) in an escrow account with the U.S. District Court Clerk, or

          2.          Give bond for payment thereof.

          18    u.s.c. § 3572(g)
PAYMENTS

If you are ordered to make payments to the U.S. District Court Clerk's Office, certified checks or money orders should be made payable
to the Clerk, U.S. District Court and delivered to the appropriate division office listed below:

                      LOUISVILLE:                      Clerk, U.S. District Court
                                                       I 06 Gene Snyder U.S. Courthouse
                                                       601 West Broadway
                                                       Louisville, KY 40202
                                                       502/625-3500

                      BOWLING GREEN :                  Clerk, U.S. District Court
                                                       120 Federal Building
                                                       241 East Main Street
                                                       Bowling Green, KY 42101
                                                       270/393-2500

                      OWENSBORO:                       Clerk, U.S. District Court
                                                       126 Federal Building
                                                       423 Frederica
                                                       Owensboro, KY 4230 I
                                                       270/689-4400

                      PADUCAH:                         Clerk, U.S. District Court
                                                       127 Federal Building
                                                       50 I Broadway
                                                       Paducah, KY 42001
                                                       270/415-6400

If the court finds that you have the present ability to pay, an order may direct imprisonment until payment is made.




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